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Memorandum

 

 

Subj: Date:

 

United States v. HUSSEIN SALEH SALEH — | November 13, 2007

 

 

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To: From: S

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SHERRI R. CARTER BONNIE L. HOBBS m =

District Court Executive Assistant United States Attomey’. aml

United States District Court Criminal Division Poo

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Central District of California oS ong
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The matter relating to the above-referenced criminal action,

United States v. Hussein Salch Saleh , being filed on _ 11/14/07

[ J 1s

[X ] is not

a matter (1) that was pending in the Organized Crime Section of the USAO on or before
September 29, 2000, the date on which Stephen G. Larson resigned his appointment in that
office; or (2) in which Stephen G. Larson was personally involved or on which he was personally

consulted while employed in the USAO,

BONNIE L. Wd

Assistant United States Attorney
Criminal Division

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